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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,      )
                                 )
            v.                   )
                                 )
  RAFAEL ROJAS-REYES,            ) NO. 1:16-cr-00123-TWP-DKL-01
  HECTOR SAUL CASTRO-AGUIRRE,    )                          -07
       a/k/a Chapo,              )
       a/k/a Chapito,            )
  JOHN RAMIREZ-PRADO, and        )                          -10
  JOSE MANUEL CARRILLO-TREMILLO, )                          -15
       a/k/a Meche,              )
                                 )
            Defendants,          )


                              GOVERNMENT=S TRIAL BRIEF


        The United States of America, by counsel, Josh J. Minkler, United States

  Attorney for the Southern District of Indiana, and Bradley A. Blackington,

  Assistant United States Attorney, hereby files this Trial Brief.


  I.    ADMISSION OF EXPERT OPINION TESTIMONY CONCERNING THE
        MODUS OPERANDI OF THE SINALOA CARTEL
        The government intends to introduce the expert testimony of Joshua

  Cluff, a Special Agent with the DEA in Phoenix, Arizona. Special Agent Cluff

  has extensive experience with investigating drug trafficking organizations in

  general and investigating cases involving the Sinaloa Cartel in particular. (Dkt.

  572, Exhibit A.) Special Agent Cluff will testify concerning the existence and

  modus operandi of the Sinaloa Cartel. (See Dkt. 572, at 1-3.) Two of the

  government’s witnesses will testify that the charged conspiracy involved the


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  Sinaloa Cartel and that some of the defendants were members of the Sinaloa

  Cartel.

        For the past thirty years, the Seventh Circuit has consistently held that

  the manner in which drug dealers operate constitutes a proper subject matter

  for expert testimony. United States v. Garcia-Avila, 737 F.3d 484, 488 (7th Cir.

  2013); United States v. Winbush, 580 F.3d 503, 510-511 (7th Cir. 2009); United

  States v. Foster, 939 F.2d 445, 451 & n. 6 (7th Cir. 1991). The Seventh Circuit

  has noted that such testimony becomes helpful to a jury because it remains “a

  reasonable assumption that jurors are not well versed in the behavior of drug

  dealers.” United States v. Upton, 512 F.3d 2008 (7th Cir. 2008) (quoting Foster,

  939 F.2d at 452). In this vein, the Seventh Circuit has consistently allowed the

  government to introduce expert testimony concerning the modus operandi of

  drug trafficking organizations. United States v. Mansoori, 304 F.3d 635 (7th Cir.

  2002); United States v. Cruz-Velasco, 224 F.3d 654 (7th Cir. 2000); United

  States v. Doe, 149 F.3d 634 (7th Cir. 1998).

        In Mansoori, an indictment charged members of the Traveling Vice Lords

  with conspiracy to distribute controlled substances and related offenses. 304

  F.3d at 642. The government introduced the testimony of a Chicago police

  officer, who gave expert opinion testimony about the history, leadership, and

  operations of the Traveling Vice Lords. Id. at 652-53. The officer testified that

  the Traveling Vice Lords controlled narcotics distribution on the west side of

  Chicago through a series of distribution loci known as “drug spots.” Id. at 653.

  The officer gave opinion testimony identifying several locations controlled by


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  the Traveling Vice Lords, described how a “drug spot” operated, and recounted

  disputes between various members of the gang about drug turf. Id.

        The defendants objected to the officer’s expert opinion testimony, arguing

  that the testimony exceeded the bounds of permissible expert testimony

  because it simply instructed the jurors that if the defendants associated

  themselves with the Traveling Vice Lords, then they had joined the charged

  conspiracy. Id. The defendants also argued that the prejudicial impact of the

  testimony exceeded its probative value and the admission of the testimony thus

  violated Rule 403 of the Federal Rules of Evidence. Id. The defendants argued

  that because other evidence existed to describe the operation of the charged

  drug distribution network, the evidence had minimal probative value. Id. The

  defendants argued that the evidence had a substantial prejudicial impact

  because the only eyewitness testimony concerning the Traveling Vice Lords’

  operation consisted of former drug dealers with an incentive to cooperate with

  the government and the jury may improperly consider the officer’s opinion

  testimony as “facts” which bolstered the testimony of these less-than-

  upstanding witnesses. Id. The district court permitted the introduction of this

  evidence.

        The Seventh Circuit upheld the district court’s decision on appeal.

  Initially, the Seventh Circuit noted that the average juror lacks familiarity with

  the operation of drug traffickers or street gangs. Id. at 654. As a result, the

  officer’s testimony supplied the jury with useful background information about

  the history and structure of the Traveling Vice Lords, along with their


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  involvement in drug trafficking activity. Id. Moreover, the officer’s testimony

  did not invite the jury to conclude that mere membership in the Traveling Vice

  Lords equated to participation in the charged conspiracy. Id. Finally, since the

  district court instructed the jury that they did not have to accept the expert’s

  opinion testimony, the Seventh Circuit saw “no real possibility” that the jury

  could have mistakenly credited the officer’s opinion testimony with facts. Id. at

  654-55.

        In Doe, an indictment charged a Nigerian defendant with heroin

  trafficking charges. 149 F.3d 14 635-36. The government introduced the

  testimony of a DEA agent, who gave expert opinion testimony about the

  common practices of Nigerian drug smugglers. Id. at 636. The agent testified

  that Nigerian traffickers commonly smuggle heroin into the United States from

  Southeast Asia. Id. The agent testified that the Nigerian traffickers commonly

  ship heroin to smaller cities because they have a smaller law enforcement

  presence. Id. The agent also testified that Nigerian traffickers commonly use

  the mailing addresses of other individuals to receive imported heroin and use

  false identities to prevent detection by law enforcement. Id.

        The defendant objected to the introduction of this testimony, arguing

  that the prejudicial impact of the testimony substantially outweighed its

  probative value in violation of Rule 403 of the Federal Rules of Evidence. Id.

  The district court permitted the introduction of this evidence.

        The Seventh Circuit found that the opinion testimony became relevant

  because the agent’s explanation of the common practices and modus operandi


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  of Nigerian drug dealers allowed the jury to compare that information to the

  facts of the case and the defendant’s behavior. Id. at 637. In particular, the

  Seventh Circuit noted that the government attempted to use the events

  surrounding the seizure of heroin, the false identities used by the defendant,

  and the defendant’s use of countersurveillance techniques to establish his

  criminal intent. Id. The expert testimony provided a context for the

  defendant’s behavior that permitted the jury to infer that the defendant knew

  that a package contained heroin. Id. The Court noted that little opportunity

  for prejudice arose because the expert witness did not testify as a fact witness

  at trial and the defendant had a full opportunity to cross-examine the witness

  about his opinion testimony. Id. Tthe Seventh Circuit also noted that the

  agent’s testimony about Nigerian practices did not invite the jury to find the

  defendant guilty simply because of his character. Id. at 638. Instead of

  suggesting that the defendant had the propensity to import or distribute drugs

  because of his character, the testimony merely illuminated the jury about the

  modus operandi of Nigerian importers of Southeast Asian heroin. Id. The

  testimony provided a context for the jury to consider in explaining the

  defendant’s behavior and did not implicate the defendant’s character. Id.

  Finally, the testimony did not permit the jury to find the defendant’s guilt

  simply because of his ethnic background. In this regard, the Seventh Circuit

  noted the following:


              If the only purpose of profile evidence is to support an
              inference of guilt by association, then an objection to


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                the evidence would be well-founded. For instance, a
                “profile” that consisted of nothing more than
                stereotypes about a certain segment of the population
                would plainly be more prejudicial than probative. As
                discussed above, however, this was not the thrust of
                Balbo's testimony about the modus operandi of
                Nigerian drug traffickers, which delved into specifics
                about the typical routing of the drug, methods of
                delivery, and efforts to avoid detection by police.

  Id. at 638.

        Like the use of the expert opinion testimony in Mansoori and Doe, the

  government seeks to use the expert opinion testimony in this case to supply

  the jurors with useful background information about the behavior of the

  Sinaloa Cartel to the modus operandi of the Cartel. The expert opinion

  testimony will thus serve as background knowledge for the jury through which

  they can evaluate the trial evidence and the behavior of the defendants. The

  testimony will not result in the improper bolstering of the testimony of

  accomplice witnesses because the Court will properly instruct the jury about

  its ability to accept or reject the opinion testimony; thus, the jury will not

  merely accept the agent’s opinion testimony as fact and assume the

  truthfulness of the accomplice witnesses’ testimony by extension.       The

  opinion testimony will not invite the jury to draw aspersions on the defendants’

  character because the testimony will not suggest that the defendants had the

  propensity to distribute drugs. Instead, the testimony will merely educate the

  jury about the modus operandi of the Sinaloa Cartel and provide a context for

  the jurors to evaluate the defendants’ actions. Finally, the testimony will not

  invite the jury to find the defendants guilty simply because of their Hispanic


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  nationality. The expert witness’ testimony will not constitute a “profile”

  indicating that all Hispanics have joined the Sinaloa Cartel or that all

  Hispanics distribute controlled substances. Instead, like the testimony in Doe,

  the expert testimony will involve testimony about the modus operandi of the

  Sinaloa Cartel and “delve[] into specifics about the typical routing of the drug,

  methods of delivery, and efforts to avoid detection by police.” Doe, 149 F.3d at

  638.

         Because the expert testimony of Special Agent Cluff will closely resemble

  the expert testimony offered by the government in Mansoori and Doe, and the

  government seeks to use Special Agent Cluff’s expert testimony for the same

  purposes as it did in those cases, Special Agent Cluff’s testimony will become

  admissible in the instant case.

  II.    ADMISSION OF OPINION TESTIMONY CONCERNING DRUG CODE
         LANGUAGE
         The government intends to introduce both the expert and lay opinion

  testimony of Matthew W. Holbrook, a Special Agent with the DEA in

  Indianapolis. Special Agent Holbrook will offer expert testimony indicating that

  during two intercepted telephone conversations, the word “windows” referred to

  methamphetamine. (Dkt. 572, at 4.) Special Agent Holbrook will also offer

  expert testimony indicating that during another intercepted telephone

  conversation, the words “window” and “notebook” referred to one pound of

  methamphetamine. (Id.) Special Agent Holbrook will also offer lay opinion

  testimony concerning drug code language that occurred in these and other

  telephone conversations.

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        Federal law permits a properly qualified DEA agent to provide expert and

  opinion testimony concerning drug code language. It also permits the

  admission of lay opinion testimony concerning drug code language. Such a

  witness may offer both types of opinion testimony in the same trip to the

  witness stand, although the Seventh Circuit has cautioned courts and

  prosecutors to take precautionary measures to avoid jury confusion.

        This section of the Trial Brief will discuss the use of expert and lay

  opinion testimony at trial and the precautionary measures that a trial judge

  and prosecutor should take to avoid jury confusion.

        A.    Drug Code Language As Expert Opinion Testimony

        Rule 702 of the Federal Rules of Evidence provides that expert opinion

  testimony becomes admissible where the testimony (a) Awill assist the trier of

  fact to understand the evidence or to determine a fact in issue,@ (b) the witness

  is Aqualified as an expert by knowledge, skill, experience, training or

  education,@ and (c) the testimony is A(1) based upon sufficient facts or data, (2)

  the testimony is the product of reliable principles and methods, and (3) the

  witness has applied the principles and methods reliable to the facts of the

  case.@ Fed. R. Evid. 702. Expert opinion testimony involves specialized

  training or knowledge not possessed by ordinary lay persons. United States v.

  Conn, 297 F.3d 548, 554 (7th Cir. 2002).

        Seventh Circuit case law clearly establishes that an agent with suitable

  qualifications may provide expert testimony concerning the identification and

  interpretation of drug code language. United States v. Garrett, 757 F.3d 560,


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  568-69 (7th Cir. 2014); United States v. Moreland, 703 F.3d 976, 983 (7th Cir.

  2012); United States v. Farmer, 543 F.3d 365 (7th Cir. 2008); United States v.

  Ceballos, 302 F.3d 679, 686-87 (7th Cir. 2002); United States v. Romero, 57

  F.3d 565, 571 (7th Cir. 1995); United States v. Hughes, 970 F.2d 227, 236 (7th

  Cir. 1992). In Ceballos, the government outlined a DEA agent=s experience and

  training. Ceballos, 302 F.3d at 686. The district court qualified the agent as

  an expert and permitted him to interpret drug code language. Id. at 686-87;

  but see Garrett, 757 F.3d at 569 (district court permitted agent to provide

  expert opinion testimony, but did not refer to agent as expert before jury or

  instruct jury concerning expert testimony). The drug code language used in

  Ceballos involved the use of simple pronouns such as Aboth,@ Ait,@ and Athem,@

  and proper nouns such as “tickets” and “cars.” Ceballos, 302 F.3d at 687. The

  Seventh Circuit ruled that the district court properly qualified the agent as an

  expert and permitted him to interpret code language. Id. at 687 (Atickets,@ and

  Acars@ code language); see also United States v. Hankton, 432 F.3d 779, 786 (7th

  Cir. 2005) (“ball,” “quake,” “quarter,” “onion,” and “zone” code language);

  Romero, 57 F.3d at 570 (Apairs of boots@ code language); Rollins, 862 F.2d at

  1293 (Apairs of boots@ code language for cocaine); United States v. Vega, 860

  F.2d 779, 796 (7th Cir. 1988) (Achickens,@ Aroosters,@ and Ait@ code language).

        B.    Drug Code Language as Lay Opinion Testimony

        Rule 701 of the Federal Rules of Evidence states that lay opinion

  testimony becomes admissible when the opinions are A(a) rationally based upon

  a perception of the witness, (b) helpful to a clear understanding of the witness=


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   testimony or the determination of a fact in issue, and (c) not based upon

   scientific, technical, or other specialized knowledge within the scope of Rule

   702.@ Fed. R. Evid. 701. The Seventh Circuit has noted that lay opinion

   testimony typically involves a summary of either first-hand observations or

   knowledge of the facts of the case. Conn, 297 F.3d at 554. Lay opinion

   testimony becomes admissible to help the finder of fact Aunderstand the facts

   about which the witness is testifying and not to provide specialized

   explanations or interpretations that an untrained layman could not make if

   perceiving the same acts or events.@ Id. at 554 (quoting United States v.

   Peoples, 250 F.3d 630, 641 (8th Cir. 2001)).

         The Seventh Circuit initially suggested that the identification and

   interpretation of drug code language constitutes permissible lay opinion

   testimony in Conn, 297 F.3d at 555 n.3. The Conn Court cited a Fifth Circuit

   opinion for this proposition. Id. (citing United States v. Miranda, 248 F.3d 434,

   441 (5th Cir. 2001)). In the cited Fifth Circuit case, a DEA agent participated

   extensively in the investigation of a drug trafficking organization. Miranda, 248

   F.3d at 441. The DEA agent=s activity included engaging in physical

   surveillance, debriefing cooperating witnesses, and monitoring and reviewing

   intercepted telephone conversations. Id. The agent testified at trial and offered

   lay witness opinion testimony about the interpretation of drug code language.

   Id. The Fifth Circuit upheld the agent=s testimony, ruling that the agent could

   offer lay opinion testimony regarding the interpretation of drug code language




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   because his extensive participation in the investigation allowed him to form

   opinions concerning the meaning of drug code language. Id.

         The Seventh Circuit discussed the use of lay opinion testimony by a

   federal agent to interpret drug code language in United States v. Rollins, 544

   F.3d 820 (7th Cir. 2008). During the testimony, the prosecutor asked a federal

   agent about his opinion as to the meaning of several dozen recorded telephone

   conversations. Id. at 830. On one occasion, the prosecutor asked the agent

   about the meaning of a conversation during which two conspirators indicated

   that they were going to have a drink at eleven o=clock. Id. at 830-31. The agent

   replied that, based upon physical surveillance conducted in the case, he

   believed that the conversation involved the conspirators agreeing to meet a

   truck driven by another conspirator. Id. at 831. The district court permitted

   the testimony and explained as follows:

               ... the discussion here is about the words that come
               about that are unique to the conversations that have
               occurred throughout this particular alleged conspiracy. It
               is clear and it has been clear to this Court throughout
               that these guys are making this up as they go.
               Sometimes they make it up in each unique conversation.
               The officer or the agent is testifying based on his having
               listened to the conversations and based on his
               impressions, so it is clearly 701.... The testimony is not
               coming in based on his experience as the law enforcement
               officer, it is based on his experience only within this
               conspiracy.
   Id. at 831. The Seventh Circuit found that the agent had a rational basis for

   his lay opinion testimony based upon his first-hand perception of the

   intercepted telephone calls, along with his personal, extensive experience with


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   that particular investigation. Id. at 831-32. The agent listened to every

   intercepted telephone conversation and became familiar with the voices that he

   heard. Id. at 832. Law enforcement surveillance of the conspirators assisted

   in giving meaning to language used during the recorded conversations and

   confirmed the accuracy of the agent=s interpretation of the conversations. Id.

   The Seventh Circuit also found that the agent=s testimony about the meaning of

   the conversations was helpful to a clear understanding of the intercepted

   telephone conversations. Id. The Seventh Circuit noted that the testimony

   Aassisted the jury in determining several facts in issue, including whether the

   defendants knowingly and intentionally participated in the charged conspiracy

   and their roles and extent of their involvement in that conspiracy.@ Id.

         The Seventh Circuit again sanctioned the interpretation of drug code

   language by a federal agent as lay opinion testimony in United States v.

   Moreland, 703 F.3d 976, 983 (7th Cir. 2012) and United States v. Cheek, 740

   F.3d 440, 447-48 (7th Cir. 2014). Like the agent in Rollins, the agents in

   Moreland and Cheek provided lay opinion testimony based upon their

   investigations in the underlying cases. Id.

         Like the Rollins, Moreland, and Cheek cases, the government will offer lay

   opinion testimony concerning the interpretation of drug code language. Like

   both cases, the agent’s opinions will arise from his first-hand perception of the

   intercepted telephone conversations and his extensive experience with this

   investigation.




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         C.    Distinction Between Drug Code Language as Lay Opinion and
               Expert Opinion Testimony


         As the cases cited above make clear, the question of whether a specific

   interpretation of drug code language by an agent qualifies as expert opinion

   testimony or lay opinion testimony depends upon the basis for the witness’

   opinion. If the agent testifies based upon his personal knowledge obtained

   during the investigation, he testifies as a lay witness under Rule 701 of the

   Federal Rules of Evidence. Cheek, 740 F.3d at 447; Moreland, 703 F.3d at 983.

   If the agent testifies based upon his involvement in other drug investigations,

   he testifies as an expert witness under Rule 702 of the Federal Rules of

   Evidence. Cheek, 740 F.3d at 447; Moreland, 703 F.3d at 983.

         D.    Agent in Dual Roles of Lay Witness and Expert Witness

         Although recognizing that a witness testifying as both an eyewitness and

   an expert witness may increase the possibility of jury confusion, the Seventh

   Circuit has repeatedly sanctioned this practice. Garrett, 757 F.3d at 569-70;

   Moreland, 703 F.3d at 983; United States v. Christian, 673 F.3d 702, 712 (7th

   Cir. 2012); United States v. York, 572 F.3d 415, 425 (7th Cir. 2009); Farmer,

   543 F.3d at 370; United States v. Goodwin, 496 F.3d 636, 641 (7th Cir. 2007);

   Mansoori, 304 F.3d at 654; United States v. Lightfoot, 224 F.3d 586, 589 (7th

   Cir. 2000); Foster, 939 F.2d at 453; United States v. Solis, 923 F.2d 548, 551

   (7th Cir. 1991).

         Different panels of the Seventh Circuit, however, have suggested different

   methods for addressing the potential of jury confusion. One line of cases


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   recommends specific precautions that a trial court and a prosecutor should

   take to minimize the possibility of jury confusion about the nature of a dual

   witness= testimony. First, the trial court should provide appropriate cautionary

   instructions to the jury. York, 572 F.3d at 425; Mansoori, 304 F.3d at 654. 1 In

   this vein, the trial court should Aflag for the jury@ when the agent testifies as a

   fact witness and when the agent testifies as an expert. York, 572 F.3d at 426;

   see also Christian, 673 F.3d at 712 (“[t]he jury needs to know when an agent is

   testifying as an expert and when he is testifying as a fact witness”). Second,

   the prosecutor should structure his examination of the witness in such a way

   as to make clear when the witness is offering factual testimony and when the

   witness is offering expert opinion testimony. York, 572 F.3d at 425. For

   instance, the prosecutor should preface questions pertaining to expert

   testimony with phrases such as Abased upon your experience in crack cocaine

   investigations....@ Id. at 426; Farmer, 543 F.3d at 371; see also Christian, 673

   F.3d at 713. Third, the prosecutor should clearly establish the foundation for

   the witness= expert opinions. York, 572 F.3d at 425; Christian, 673 F.3d at

   713. Fourth, the trial court should permit rigorous cross-examination of the

   agent=s interpretation of the relevant code language. York, 572 F.3d at;

   Christian, 673 F.3d at 713; Foster, 304 F.3d at 654.

          Three years after the York opinion and only nine months after the

   Christian opinion, however, a different Seventh Circuit panel viewed the district


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            The government suggests that the Court consider issuing Seventh Circuit Pattern Instruction
   No. 3.07 at the time of Agent Freyberger=s testimony, which concerns the receipt of expert testimony.


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   court’s decision to flag for the jury when the witness testified as an expert

   witness and when the agent testified as a lay witness as “potentially confusing”

   and “unnecessary.” Moreland, 703 F.3d at 983. The Moreland Court suggested

   that the prosecutor should simply ask the witness the basis for his answer to a

   question (whether the opinion arose from the witness’ investigation of the case

   or whether the opinion arose from the witness’ training and experience). Id. at

   983-84. The Moreland Court found that “[u]sing terms like ‘lay witness’ and

   ‘expert witness’ and trying to explain to the jury the difference between the two

   types of witness is inessential and… ill advised.” Id. at 984.

         Most recently, in a concurring opinion, Judge Easterbrook noted the

   tension between the Christian/York line of cases and the Moreland case. After

   noting that the Seventh Circuit “may need to resolve this intra-circuit conflict

   in some future case,” Judge Easterbrook declined to address the conflict.

   United States v. Parkhurst, 865 F.3d 509, 525 (7th Cir. 2017).

         The government believes that the tension between the Christian/York line

   of cases and the Moreland case arises from the different methods that a district

   court may use to instruct the jury about opinion testimony. The government

   has filed a Motion in Limine asking the Court to designate the expert witnesses

   as such before the jury. (Dkt. 573.) If the Court grants the Motion in Limine

   and designates Special Agent Holbrook as an expert witness, the government

   believes that the Court should follow the practices outlined by the Seventh

   Circuit in Christian and York and clearly delineate between when Special Agent

   Holbrook testifies as an expert witness and when he testifies as a lay witness.


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   If the Court dismisses the Motion in Limine and only refers to Special Agent

   Holbrook as a witness offering “opinion testimony,” the concerns identified in

   Christian and York will not arise, and the method of examination suggested in

   Moreland will become appropriate.

   III.   OUT-OF-COURT STATEMENTS MADE BY POLICE OFFICERS OVER
          POLICE RADIOS DURING SURVEILLANCE
          The government intends to offer evidence of out-of-court statements

   made by police officers over police radios during the course of physical

   surveillance activity. While conducting the joint surveillance activity, the police

   officers communicated over police radios regarding their immediate

   observations.

          The Seventh Circuit has previously held that these statements fall within

   the present sense impression exception to the hearsay rule. United States v.

   Ruiz, 249 F.3d 643, 646 (7th Cir. 2001); see Fed. R. Evid. 803(1). In Ruiz,

   Officer Noel Sanchez of the Chicago Police Department conducted surveillance

   in the front of an apartment house while Officer Glen Lewellen conducted

   surveillance in the rear of the apartment house. Id. Officer Sanchez could not

   observe any of the events that Officer Lewellen observed at the rear of the same

   apartment. Id. Officer Lewellen, however, contemporaneously relayed his

   observations to Officer Sanchez over police radio. Id. The district court

   permitted Officer Sanchez to repeat Officer Lewellen=s radio transmissions to

   him during his trial testimony. Id.

          On appeal, the Seventh Circuit noted that the present sense impression

   exception to the hearsay rule applies under the following circumstances: (1)

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   the statement describes an event without calculated narration; (2) the speaker

   personally perceived the event described; and (3) the speaker made the

   statement while the speaker was perceiving the event or immediately

   thereafter. Id. The Seventh Circuit held that Officer Lewellen=s statements to

   Officer Ruiz met the three requirements for the present sense impression to the

   hearsay rule, because Ahe saw Ruiz and what Ruiz did, he repeated his

   observations to Sanchez, and he did so at the same time as, or shortly after, he

   made these observations.@ Id. at 647.

         In the case at bar, the government will offer testimony of police officers

   regarding the contemporaneous statements of other police officers concerning

   their surveillance observations. The government will request the Court to

   admit these statements into evidence as present sense impressions.

   IV.   SUMMARY VERSUS DEMONSTRATIVE EVIDENCE

         The government intends to offer both summary and demonstrative

   evidence into evidence in the case at bar. The summary evidence will consist of

   summaries of cellular site records and financial records. The demonstrative

   evidence will consist of maps that incorporate information obtained from

   border crossing records, hotel records, and flight records to show the

   movement of individuals across the United States during the course of the

   conspiracy. The government will offer the summary evidence into evidence.

   The government will only seek to introduce the demonstrative evidence for

   demonstrative purposes and will not ask to send it out with the jury during

   deliberations.


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          Federal law distinguishes between summary and demonstrative evidence.

   Rule 1006 of the Federal Rules of Evidence governs the admission of summary

   evidence. Rule 1006 allows the proponent of the evidence to use a “summary,

   chart, or calculation to prove the content of voluminous writings… that cannot

   be conveniently examined in court.” 2 Fed. R. Evid. 1006. The summary chart

   constitutes substantive evidence and becomes admissible by itself. United

   States v. White, 737 F.3d 1121, 1135 (7th Cir. 2013). The proponent of the

   evidence does not need to introduce the underlying documents (the voluminous

   writings) into evidence themselves. Id.

          Demonstrative evidence, however, consists of a “persuasive, pedagogical

   tool created and used by a party as part of the adversarial process to persuade

   the jury.” Baugh ex rel. Baugh v. Cuprum S.A. de C.V., 730 F.3d 701, 706 (7th

   Cir. 2013). Federal courts have held that Rule 611(a) of the Federal Rules of

   Evidence, which allows the trial court to exercise “control over the mode and

   order of examining witnesses and presenting evidence,” authorizes the

   introduction of demonstrative evidence. White, 737 F.3d at 1135.

   Demonstrative evidence only serves to help the jury understand previously

   admitted evidence. Id. at 707. The proponent of this type of evidence may use

   the exhibit as a tool to “persuade the jury to see the evidence in a certain light

   favorable to the advocate’s client.” Id. (citing United States v. Bray, 139 F.3d

   1104, 1111-12 (6th Cir. 1998). Because of the one-sided nature of


   2Rule 1006 also requires the proponent of the summary evidence to make the original evidence
   available for examination or copying. The government complied with this requirement by
   disclosing the cellular site records and financial records in electronic format in 2017.

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   demonstrative evidence, it does not become admitted as substantive evidence

   and thus should not become available to the jury during deliberations. Baugh,

   730 F.3d at 708. In most cases, the trial court should also provide a limiting

   instruction concerning the proper purpose of demonstrative evidence. United

   States v. Pree, 408 F.3d 855, 872 (7th Cir. 2005).

         The government will offer both summary and demonstrative evidence in

   this case. The government will request the Court to admit the summary

   evidence into evidence and to use the demonstrative evidence only for limited

   purposes.




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                               CERTIFICATE OF SERVICE


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                                                  s/Bradley A. Blackington
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